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AO 239 (Rev. Ol/l$) Application to Prucecd in District Court Without Prepaying Fees or Costs (Long Form)

UNITED STATES DISTRICT CQ_:t;§TM '3 PH 2 05

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for the }I;C§:LL"{Q~`[[T`E:E
PIa:'mq'[f/Petin'oner
v.

 

    
   

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Civil Action No. '$'.\'l-wc."\"l"j:' gq/MF~

befendanr/Responri¢em" 7

APPLICATION TO PROCEED lN DISTRICT COURT WITHOUT PREPAYlNG FEES OR COSTS

 

(Long Form)
Afiidavit in Support of the Application lnstructions
I am a plaintiff or petitioner in this case and declare Complete all questions in this application and then sign it.

that l am unable to pay the costs of these proceedings Do not leave any blanks: if the answer to a question is “0,"
and that l am entitled to the relief requested. »1 declare “none,” or “not applicable (N/A),” write that response. If
under penalty of perjury that the information below is you need more space to answer a question or to explain your
true and understand that a false statement may result in answer, attach a separate sheet of paper identified with your

 

 

 

a dismissal of my claims. namc, your case's docket number, and the question numbcr.
Signed? §]L/AM%';»-v ,i Dat°¢ , ,\L,/j;g,Q/,:Z,
l. For both you and your spouse estimate the average amount of money received from each of the following

sources during the past 12 months. Adjust any amount that was received weekly, biwcckly, quarterly,
semiannual|y, or annually to show the monthly ratc. _Use gross amounts, that rs, amounts before any deductions
for taxes or otherwisc.

 

 

 

income source Average monthly income income amount expected
amount during the past 12 next month
months
You Spouse ‘(ou Spouse
Employment S s 5 3

 

Self-employment x S

 

lnCOme from real property (.ruch as rental income) S

 

lnterest and dividends

 

Gifts

 

 

S S S S
Alimony 3 s 3 5
Child support S 5 5 s

 

 

 

 

 

 

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Relll'emenl (.ruclt a.v social security. pen.w'an.r, annuities.
insurmlce) S &G" $ S 8
Dl$abillfy (such as social security, insurance payments) $ 594 $ $ s
t
Unemployment paymen s S @ $ $ S
. _ `. l
PubllC £\S€lslancc (suct aswe[fare) S y $ $ $
Olhet’ Lr/)t'c~i[i~): 3 N/ S $ s
0.00 . 0 . .
Total monthly income: $ o o 3 0 00 s o 00
2. List your employment history for the past two years, most recent employer first. (Gru.r.v monthly pay is before taxes or
other dedttctt`on.r.)
Employer Address Dates of employment Gross
monthly pay
/l//A' S
$
3. List your spouse's employment history for thc past two years, most recent employer first. (Gmrs monthly pay is before
taxes or other deductian.r.)
Employer Address Datcs of employment Gross
monthly pay
%{/A’ 5
5
S
4. How much cash do you and your spouse have? $ Q
Below, state any money you or your spouse have in bank accounts or in any other financial institution. `
Financial institution Type of account Amount you have Amount your
spouse has
W//q’ 3 3
, .
$ S
$ 3

 

 

 

 

 

If` you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditurcs, and balances during the last six months in your institutional accounts. lf` you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.

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AO 239 (Rev. Ol/ 15) Application to Proceed in District Coun Without Prepaying Fees or Costs (Long Form)

 

5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household fumishings.

 

 

 

Assets owned by you or your spouse

 

HOmC (Value) ' $ ¢70 00 0

Oll`l€!' real €Slale (Value)

 

 

Motor vehicle #1 (Value) M/A'_ S /6',_

 

Make and year:

 

Model:

 

Registration #:

 

 

 

Motor vehicle #2 (Value) A//A, 3 m

Make and year:

 

 

Model:

 

Registration #:

 

Other assets (Value) S

 

Other assets (Vahw) $

 

 

 

6. State every person, business, or organization owing you or your spouse money, and the amount owed.

 

Person owing you or your spouse Amount owed to you Amount owed to your spouse

/V_//z¢- 5 8
A//A_ s s

A///?’ s s

7. State the persons who rely on you or your spouse for support.

 

 

 

 

 

 

 

 

Name (0r, if under 18, initials only) Relationship Age

A///vz

l

 

 

 

 

 

 

 

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AO 239 (Rev. 01/15) Applicotion to Proceed in District Court Without Prcpaying Fces or Costs (Long Form)

8. Estimate thc average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
monthly rate.

 

You Your spouse

 

chl Ot' hOmC-mOl‘lgage payment (including lot rented/ur mobile lmme)
Are real estate taxes included? Cl Yes l'_'l No 5
ls property insurance included? Cl Yes Cl No

 

 

 

 

Ulilities (electricity. lteatingfuel. watcr. scm'er, and telephone) $ S
Home maintenance (repairs and upkeep) ~ $ 5
Food $ $
Clothing S S

 

w

n§§§§ §h§a§sa§d

Laundry and dry-cleaning

 

EB

Medieal and dental expenses

 

475

Tran$pol'tation (not including motor vehicle pa_vments)

 

Recreation, entertainment, newspapers, magazines, etc.

 

lnSUt'anCe (m)l deducted front wages or included in mortgage pnymem.r)

 

 

 

 

 

 

Homeowncr's or renter's: $ $
Life: S S
nealth: ` s s
Motor vehicle: $ S
Other: S S
TaXeS (not dedicated ji‘om wages or included iu mortgage payment.\') (.rpecify): s s

 

lnstallment payments

 

Motor vehicle:

s

 

Credit Cal’d (name):

 

Department store (name):

n

 

Other:

 

§

Alimony, maintenance, and support paid to others

 

 

 

 

 

 

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AO 239 (Rcv. 01/15) Application to Proceed in District Coun Without Frepaying Fees or Costs (Long Form)
Regular expenses for operation of business, profession, or farm (arrach detailed
stutement) $ W s
Other (specify)t $ @/` $
. . .0
'I otal monthly expenses: o 00 s 0 0
9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
next 12 months?
CI Yes N No If yes, describe on an attached sheet.
10. l~lavc you spent _ or will you be spending _ any money for expenses or attorney fees in conjunction with this
lawsuit? \j Yes KNo
If yes, how much? S
l 1. Provide any other information that will help explain why you cannot pay the costs of these proceedings

12. Identif`y the city and state of your legal residence.

Your daytime phone number: %¢/’ ga la ’ /tS_ 2-/
Your age: 3 a Your years of schooling: / o‘? FA

